Case 1:24-mc-00478-MN Document

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AO 239 (Rev. 01/15) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)

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UNITED STATES DISTRICT COU

for the

District of Delaware

David Stebbins

Plaintiff/Petitioner
v.
Google LLC and Rumble Inc.

Defendant/Respondent

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FILED

™STSCT COURT

Civil Action No. 24-mc-478 (MN)

APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
(Long Form)

Affidavit in Support of the Application

I am a plaintiff or petitioner in this case and declare

that | am unable to pay the costs of these proceedings
and that I am entitled to the relief requested. I declare
under penalty of perjury that the information below is

true and understand that a false statement may result in

a dismissal of my claims Y
} | :
Signed: Ny Nige

Instructions

Complete all questions in this application and then sign it.
Do not leave any blanks: if the answer to a question is “0,”
“none,” or “not applicable (N/A),” write that response. If
you need more space to answer a question or to explain your
answer, attach a separate sheet of paper identified with your
name, your case's docket number, and the question number.

Date: 10/18/2024

L. For both you and your spouse estimate the average amount of money received from each of the following
sources during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,
semiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions

for taxes or otherwise.

Income source Average monthly income Income amount expected
amount during the past 12 next month
months
You Spouse You Spouse
Employment S 0.00 |$ S 0.00 |$
Self-employment S 73.82 |$ $ 40.00 |$
Income from real property (such as rental income) S 0.00 |$ $ 0.00 $
Interest and dividends S 0.00 |$ § 0.00 |$
Gifts :
1 $ 0.00 |$ 5 0.00 |$
Alimon
y $ 0.00 |$ $ 0.00 |$
Child support g 0.00 |$ $ 0.00 |$

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Retirement (such as social security, pensions, annuities, $ 0.00 |$ $ 0.00 |$
insurance) ,
Disability (such as social security, insurance payments) $ 943.00 |$ $ 943.00 |$
Unemployment payments $ 0.00|$ $ 0.00 |$
Public-assistance (such as welfare) $ 73.00 1$ § 73.00 |$
Other (specif: § 16.66 |$ $ 100.00 |$
- . . 1,156.00 0.00
Total monthly income: $ 1,106.48 |S 0.00/8 §
2. List your employment history for the past two years, most recent employer first. (Gross monthly pay is before taxes or
other deductions.)
Employer Address Dates of employment Gross
monthly pay
none in the past 2 years $
$
3, List your spouse's employment history for the past two years, most recent employer first. (Gross monthly pay is before
taxes or other deductions.)
Employer Address Dates of employment Gross
monthly pay
n/a (not married) $
$
$
4. How much cash do you and your spouse have? $ 2,30
Below, state any money you or your spouse have in bank accounts or in any other financial institution.
Financial institution Type of account Amount you have Amount your
spouse has
Arvest Checking $ 270.62 |$
$ $
$ $

If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,
expenditures, and balances during the last six months in your institutional accounts. If you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certified statement of each account.
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5. List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
household furnishings.

Assets owned by you or your spouse

Home (Value) $ 0.00

Other real estate (Value) $ 0.00

Motor vehicle #/ (Value) 3 0.00

Make and year: n/a

Model: n/a

Registration #: n/a

Motor vehicle #2 (Value)

Make and year:

Model:

Registration #:

Other assets (Value) $

Other assets (Value) $

6. State every person, business, or organization owing you or your spouse money, and the amount owed.

Person owing you or your spouse Amount owed to you Amount owed to your spouse
money

Jarrod Jones $ 1,600.00 |S

7. State the persons who rely on you or your spouse for support.

Name (or, if under 18, initials only) Relationship _ |Age

No dependents

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8. Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the

monthly rate.

You Your spouse

Rent or home-mortgage payment (including Ipt rented for mobile home)

Are real estate taxes included? Yes O No 400.00

Is property insurance included? M Yes ONo
Utilities (electricity, heating fuel, water, sewer, and telephone) 90.00
Home maintenance (repairs and upkeep) 0.00
Food 400.00
Clothing 50.00
Laundry and dry-cleaning 20.00
Medical and dental expenses 0.00
Transportation (not including motor vehicle payments) 0.00
Recreation, entertainment, newspapers, magazines, etc. 30.00
Insurance (not deducted from wages or included in mortgage payments)

Homeowner's or renter's: n/a 0.00

Life: n/a 0.00

Health: na — 0.00

Motor vehicle: n/a 0.00

Other: na 0.00
Taxes (not deducted from wages or included in mortgage payments) (specify):
Installment payments

Motor vehicle: na 0.00

Credit card (name): n/a 0.00

Department store (name): n/a 0.00

Other: n/a 0.00
Alimony, maintenance, and support paid to others 0.00

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Regular expenses for operation of business, profession, or farm (attach detailed
statement) $ 0.00|$
Other (specify): $ 0.00/$
990.0 0.00
Total monthly expenses: $ 0.008

9. Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the

next 12 months?

Yes &No If yes, describe on an attached sheet.
10. Have you spent — or will you be spending — any money for expenses or attorney fees in conjunction with this

lawsuit? © Yes No

If yes, how much? $

11. Provide any other information that will help explain why you cannot pay the costs of these proceedings.
The $100 in “other" income | expect to get next month, as well as the $1,600 debt that Jarrod Jones owes me,
both come from a nominal settlement agreement | made with Jarrod Jones a few months ago. See Dkt. 78 of
Case 8:24-cv-01486-JVS-KES in the US District Court for the Central District of California. He only pays me
$100 per month.

12. Identify the city and state of your legal residence.
Harrison, AR

Your daytime phone number: (870) 204-6516

Yourage: 35 Your years of schooling: 14
